

ORDER

PER CURIAM.
AND NOW, this 19th day of April, 2002, upon consideration of the Report and Recommendations of the Disciplinary Board dated April 1, 2002, it is hereby
ORDERED that DOUGLAS GERALD KUNKLE, be and he is SUSPENDED from the Bar of this Commonwealth for a period of six (6) months retroactive to August 22, 2001, and he shall comply with all the provisions of Rule 217 Pa.R.D.E.
It is further ORDERED that respondent shall pay costs to the Disciplinary Board pursuant to Rule 208(g), Pa.R.D.E.
Mr. Justice Castille dissents and would impose a suspension of one year and one day, as requested by the Office of Disciplinary Counsel.
